        Case 1:15-cv-05236-LTS-KHP Document 407 Filed 05/18/18 Page 1 of 7



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X
                                                                                                      05/18/2018
JANELL WINFIELD, TRACEY STEWART,
and SHAUNA NOEL,

                             Plaintiffs,                                           OPINION AND ORDER

         -against-                                                               15-CV-05236 (LTS) (KHP)

CITY OF NEW YORK,

                             Defendant.
-----------------------------------------------------------------X
KATHARINE H. PARKER, UNITED STATES MAGISTRATE JUDGE

         Plaintiffs served thirteen contention interrogatories with subparts on Defendant and

then moved to compel answers to certain of those interrogatories to which Defendant

objected. This Court issued rulings with respect to some of the interrogatories at the last case

management conference on May 7, 2018. The Court reserved judgment with regard to

Interrogatories 1, 2 and 12 and requested a written submission from Defendant explaining its

objections. 1

                                                     BACKGROUND

         The interrogatories at issue are as follows:

       INTERROGATORY NO. 1: Identify each CM, if any, that defendant believes would vote
against one or more land use measure needed to facilitate the construction of a housing
development that would become a Covered Development, or otherwise vote against the
development of one or more housing developments that would become Covered
Developments, if the Outsider-Restriction Policy as it currently exists were narrowed in
applicability (that is, reduced from 50 percent of the Lottery Units to a smaller percentage,
reduced in terms of the community districts where the policy is applicable, limited only to what

1
 Defendant failed to submit a written response to Plaintiffs’ motion to compel before the May 7 conference but
asked for an extension of time to file the same. Plaintiffs objected to the requested extension of time. Because a
case management conference was already scheduled, the Court addressed most of the interrogatories at the May
7 conference without the need for a written response from the City and after hearing the parties’ respective
arguments at the conference.

                                                              1
      Case 1:15-cv-05236-LTS-KHP Document 407 Filed 05/18/18 Page 2 of 7



defendant considers long-term residents of a community district, limited only to those who
defendant considers at-risk of displacement) or eliminated; but who defendant believes would
otherwise vote in favor of the aforementioned land-use measures or developments. In other
words, this interrogatory is asking for the identification of each CM, if any, for whom defendant
believes the narrowing or elimination of the outsider-restriction policy would be a “but for”
cause of voting against one or more land-use measures or developments as described above.

        INTERROGATORY NO. 2: For each CM identified in response to Interrogatory No. 1,
specify each and all of the bases for defendant’s belief, and, for each such basis, specify the
date, substance, and context of each statement or communication (e.g., in-person meeting
with Commissioner Been, telephone call with Commissioner Torres-Springer, email to Mayor de
Blasio, news report published by The New York Times, speech delivered at a committee hearing
of the City Council, remarks made at a community board meeting, testimony given to a meeting
of the City Planning Commission) made by the CM, if any, that contributed to the defendant’s
belief.

        INTERROGATORY NO. 12: For the Covered Developments first advertised to the public
in the period from 2003 to 2005 and that received RPTL § 421-a benefits, specify which of them
applied the Outsider-Restriction Policy and which did not, and, in each case, explain the basis or
bases for applying or for not applying the policy.

                                            DISCUSSION

       Federal Rule of Civil Procedure 33 permits a party to serve no more than 25 written

interrogatories, including discrete subparts. Fed. R. Civ. P. 33(a)(1). An interrogatory may

relate to any matter that may be inquired into under Federal Rule of Civil Procedure 26(b)(1).

In other words, interrogatories may seek nonprivileged information “relevant to any party’s

claim or defense and proportional to the needs of the case, considering the importance of the

issues at stake in the action, the amount in controversy, the parties' relative access to relevant

information, the parties' resources, the importance of the discovery in resolving the issues, and

whether the burden or expense of the proposed discovery outweighs its likely benefit.” Fed. R.

Civ. P. 26(b)(1). “An interrogatory is not objectionable merely because it asks for an opinion or

contention that relates to fact or the application of law to fact.” Fed. R. Civ. P. 33(a)(2).

Grounds for objections to interrogatories must be stated with specificity. Fed. R. Civ. P.

                                                  2
      Case 1:15-cv-05236-LTS-KHP Document 407 Filed 05/18/18 Page 3 of 7



33(b)(4). If examining documents from which the answer to an interrogatory may be

ascertained would be no more burdensome to one party than the other, the responding party

may answer by specifying the records that contain the answer. See Fed. R. Civ. P. 33(d).

        The Local Rules for this District restrict the interrogatories that may be served at the

commencement of discovery to those “seeking names of witnesses with knowledge of

information relevant to the subject matter of the action, the computation of each category of

damage alleged, and the existence, custodian, location and general description of relevant

documents, including pertinent insurance agreements, and other physical evidence, or information

of a similar nature.” S.D.N.Y. Civ. R. 33.3(a). The Local Rule specifies that, “[d]uring discovery,

interrogatories other than those seeking information described in paragraph (a) above may only be

served (1) if they are a more practical method of obtaining the information sought than a request

for production or a deposition, or (2) if ordered by the Court.” S.D.N.Y. Civ. R. 33.3(b). It permits

“interrogatories seeking the claims and contentions of the opposing party” to be served at least 30

days prior to the discovery cut-off “unless the Court has ordered otherwise.” S.D.N.Y. Civ. R.

33.3(c). The Local Rule reflects the prevailing view in this District that interrogatories are often

burdensome and not as effective as other methods of obtaining information in discovery. It

explicitly authorizes judges to prohibit interrogatories as part of their general management of a

case. Thus, the Court has wide discretion in determining whether to require answers to

interrogatories. Mobil Oil Co. v. Dep’t of Energy, 1982 WL 1135, at *4 (N.D.N.Y. Mar. 8, 1982)

(court has wide discretion in determining whether to require answers to interrogatories).

I.      Interrogatories No. 1 And 2

        Plaintiffs posed Interrogatories 1 and 2 to explore the City’s defense that the

Community Preference Policy is needed to overcome community opposition to affordable

                                                    3
      Case 1:15-cv-05236-LTS-KHP Document 407 Filed 05/18/18 Page 4 of 7



housing projects. They contend that these interrogatories seek the factual evidence supporting

this defense by seeking the identification of those City Council Members (“CM”) who the City

believes would vote against affordable housing absent the Community Preference Policy.

Interrogatory 2 seeks additional information about each Council Member identified that led the

City to identify him/her. In Plaintiffs’ view, the City’s defense is forward-looking and necessarily

requires predictions about current and future CMs’ votes on non-identified housing projects in

non-identified community districts if there were no Community Preference Policy. Plaintiffs

also state they cannot “risk being blindsided by assertions that there is some factual basis to

believe that CMs would just automatically vote against affordable housing development in the

absence of the Community Preference Policy as it currently exists.”

       Defendant objects to these interrogatories because the questions “are stated as a

hypothetical that ask for defendant’s beliefs on how CMs will vote based on circumstances that

do not exist and have not existed in the City for at least 30 years.” It also contends the

interrogatories are vague insofar as they seek answers based on unspecified modifications to

the current Community Preference Policy. It states that Plaintiffs have deposed (or will depose)

relevant City officials responsible for maintaining the Community Preference Policy and that

questions were (or can be) posed as to the factual basis for their belief that the policy is needed

to overcome community opposition to affordable housing. It states that several officials have

testified about interactions with CMs in the context of specific housing projects that

contributed to their belief that the Community Preference Policy is a helpful tool in winning

approval for building affordable housing.




                                                 4
      Case 1:15-cv-05236-LTS-KHP Document 407 Filed 05/18/18 Page 5 of 7



       There is no theodolite to survey with precision the boundaries of proper interrogatories.

The Court and the parties may review boundaries that have been set in other similar cases, but

since the recent amendments to the Federal Rules, also must consider proportionality given the

factors set forth in Rule 26(b)(1) in determining whether to grant a motion to compel answers

to interrogatories. Questions seeking legal conclusions are impermissible. Questions calling for

an opinion based on hypothetical facts are improper. See 7 Moore’s Federal Practice – Civil §

33.79 (2018). Inquiry into law of the case – how a defendant interprets a change in the law on

its legal position also is improper. Trueman v. New York State Canal Corp., 2010 WL 681341, at

*3 (N.D.N.Y. Feb. 24, 2010).

       Having carefully considered the parties’ respective positions and evaluated

Interrogatories 1 and 2, the Court denies Plaintiffs’ motion to compel responses to these

interrogatories. The questions call for speculation concerning a hypothetical “but for” scenario.

Additionally, the interrogatories are not proportional to the needs of the case given the other

discovery permitted. Plaintiffs have had the opportunity to learn about community opposition

to specific housing projects through (1) discovery of community board meetings and hearings

on projects and (2) emails and other documents reflecting CM views and positions on specific

projects and the Community Preference Policy articulated to or perceived by the City. They also

have been permitted to question those officials responsible for the policy about the basis for

their belief. Some of these officials have identified CMs who vocalized opposition to projects

and/or insisted on application of the Community Preference Policy to a project. While the

Court appreciates Plaintiffs’ concern about being blindsided, the Court does not agree that this

will occur. The City may not rely on facts in support of its defense that have not been disclosed


                                                5
      Case 1:15-cv-05236-LTS-KHP Document 407 Filed 05/18/18 Page 6 of 7



in discovery. Further, to the extent Plaintiffs wish to argue that the City does not know whether

CMs will vote against affordable housing projects if the Community Preference Policy is

eliminated, they may. It is impossible to know the outcome of future votes with any certainty.

II.       Interrogatory No. 12

          Interrogatory 12 seeks a list of affordable housing projects where the developer

received a tax benefit pursuant to RPTL § 421-a that were marketed between 2003 and 2005

and an indication of the projects on the list that were subject to the Community Preference

Policy.

          Plaintiffs contend that the answer to this interrogatory is critical because it relates to

projects before the law was changed. Defendant has asserted that a change to Section 421-a

required application of the Community Preference Policy to so-called “421-a projects.” Section

421-a recently was renewed and the language concerning Community Preference removed.

Accordingly, the City has indicated that it is no longer applying the Community Preference

Policy to new 421-a projects. At the last conference before the Court, it became clear that

Plaintiffs are seeking the City’s opinion about how a change in the law impacts its defense. This

is improper. Trueman, 2010 WL 681341, at *3.

          Further, and in any event, the City has persuasively demonstrated that obtaining an

answer to this interrogatory is unduly burdensome and not proportional to the needs of the

case. Specifically, the City has represented that there is no central location where it can

ascertain the information sought, particularly from more than twelve years ago. The process

the City would need to follow to obtain an answer would include requesting data from long ago

from the Department of Finance and researching/cross-referencing projects within the


                                                    6
      Case 1:15-cv-05236-LTS-KHP Document 407 Filed 05/18/18 Page 7 of 7



Department of Housing Preservation and Development’s records. The City represents that

there is no way it can guarantee a complete and accurate answer and also that it is difficult to

predict how long it would take even to gather the information to obtain a semi-complete

answer. For these reasons, Plaintiffs’ motion to compel an answer to Interrogatory 12 is

denied.

                                          CONCLUSION

       For all of the foregoing reasons, Plaintiffs’ Motion to Compel is DENIED with respect to

Interrogatories 1, 2, and 12.

SO ORDERED.

Dated: May 18, 2018
       New York, New York

                                                    ______________________________
                                                    KATHARINE H. PARKER
                                                    United States Magistrate Judge




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